887 F.2d 1078Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Armondo DOMINGUEZ, Petitioner-Appellant,v.Kitty M. HAWK, Respondent-Appellee.
    No. 89-7622.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Aug. 25, 1989.Decided:  Sept. 26, 1989.
    
      Armondo Dominguez, appellant pro se.
      Before K.K. HALL, PHILLIPS and SPROUSE, Circuit Judges.
      PER CURIAM:
    
    
      1
      Armondo Dominguez appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Dominguez v. Hawk, C/A No. 89-207-HC-F (E.D.N.C. Apr. 26, 1989).  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      AFFIRMED.
    
    